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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 SECURITIES AND EXCHANGE
 COMMISSION,

                       Plaintiff,         Case No. 1:18-cv-02844-RDB

 v.

 KEVIN B. MERRILL, et al.,

                       Defendants.



RECEIVER GREGORY S. MILLIGAN’S FIFTEENTH QUARTERLY STATUS REPORT
       FOR THE PERIOD BETWEEN APRIL 1, 2022 AND JUNE 30, 2022


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         Receiver Gregory S. Milligan, of the firm Harney Partners (the “Receiver”), respectfully

submits this Fifteenth Quarterly Status Report for the Period Between April 1, 2022 and June 30,

2022 (the “Report”) in accordance with the Second Amended Order Appointing Temporary

Receiver dated September 14, 2021 (Dkt. No. 484) (the “Receivership Order”), 1 and would

respectfully show the Court as follows:

                                    I.      INTRODUCTION

         On September 13, 2018, the Securities and Exchange Commission (“SEC”) filed a

Complaint (“SEC Action”) that initiated this action against the Defendants alleging various

securities violations arising from the Defendants’ operation of a Ponzi scheme. 2 A more detailed

description of the case background is included with the Receiver’s prior quarterly status reports

(collectively, the “Prior Reports”), which are available on the Receiver’s website at https://merrill-

ledford.com/case-updates/ and incorporated herein by reference.

         Pursuant to the Receivership Order, this Report provides information regarding the assets

and liabilities of the Receivership Estate, a summary of the Receiver’s activities for the period

between April 1, 2022 and June 30, 2022 (the “Applicable Period”), and information regarding

claims held by and against the Receivership Estate. A summary of all the Receiver’s receipts and

disbursements for the Applicable Period is being filed contemporaneously with this Report and is

incorporated herein by reference.




1
  A copy of the Receivership Order can be found on the Receiver’s website for this SEC Action
at: https://merrill-ledford.com/wp-content/uploads/2021/09/2021-09-14-484-Second-Amended-
Order.pdf.
2
  Capitalized terms herein shall have the meaning as used in the Receivership Order unless
otherwise noted.

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                       II.   OVERVIEW OF THE RECEIVER’S ACTIVITIES

         During the Applicable Period, the Receiver, in coordination with the federal authorities,

has continued to control, or taken steps to assume control of, the Receivership Assets with the

objective of preserving the Receivership Assets to maximize the recovery for the Receivership

Estate. As detailed herein, the Receiver has continued the efforts outlined in the Prior Reports, as

well as addressed several new issues that have arisen during the Applicable Period.

         During the Applicable Period and as discussed in more detail below, the Receiver filed

motions to prepare the final two real properties for sale, as well as a motion to dispose of certain

personal property of de minimis value. The Receiver also continued his negotiations related to

potential claims against investors who withdrew fictitious profits from the Receivership Parties

and resolved two such claims. Meanwhile, the Receiver has continued to maintain and update the

Receivership Estate website, located at www.Merrill-Ledford.com, with relevant and required

information regarding asset sales, Claims Procedure, Distribution Plan, and other matters related

to the case.

A.       Summary of Assets

         The Receiver continues the process of assuming control and management of all property

of the Receivership Estate during the Applicable Period.

         1.        Cash

         As of June 30, 2022, the Receivership Estate had approximately $61.7 million of cash on

hand in Receivership Estate bank accounts under the sole control of the Receiver. The amount of

net cash on hand has increased by approximately $2.5 million during the Applicable Period due to

the settlement proceeds from two Net Winners (defined and further discussed below) and the

recovery of $145,000 from funds being held by a casino. The Receiver anticipates that cash on

hand will increase during the next applicable period due to further recoveries on claims against

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third parties, including Clawbacks (defined and further discussed below) and the sale of the two

remaining real properties in the Receivership Estate.

         2.        Business Operations & Assets

         All ongoing business operations of the Receivership Parties have been terminated and their

assets liquidated, as detailed in the Receiver’s eighth quarterly status report. See Dkt. No. 370.

         3.        Real Property

         The Receivership Estate also contains one remaining commercial real property and one

remaining residential real property, as discussed in greater detail below.

         4.        Other Property

         Additionally, there are several personal property items that the Receiver has recovered or

identified to date, including:

         •    Other Property. As provided in the Prior Reports, the Receivership Estate includes
              several remaining investments made by the Defendants including, but not limited to:
              (i) jewelry; (ii) a litigation financing arrangement; and (iii) an equity investment in an
              alternative investment management company.

              Some of the foregoing assets are of unknown value, and the Receiver is in the process
              of determining the best means to monetize the remaining investments for the benefit of
              the Receivership Estate.

         •    Clawbacks. The Receivership may hold claims (“Clawbacks”) against individuals and
              entities, in addition to the Relief Defendants, that received gifts, donations, or
              fraudulent transfers from the Receivership Parties. These individuals and entities may
              have received funds from the Receivership Parties derived from Ponzi scheme funds
              fraudulently obtained from investors. The Clawbacks include potential claims against
              investors who withdrew fictitious profits from the Receivership Parties (the “Net
              Winners”). An investor’s withdrawn profits may be fictitious, for example, if that party
              received payments in excess of investments. On September 14, 2021, the Court
              authorized the Receiver to investigate and make demands for full repayment of the gift,
              donation, or fraudulent transfer that may have been received from Receivership Parties.
              During the Applicable Period, the Receiver continued negotiations with Net Winners
              and entered into two settlement agreements for the return of the vast majority of the
              Net Winners’ fictitious profits in the respective amounts of $2,200,000.00 and
              $143,000.00, for a total recovery of $2,343,000.00 during the Applicable Period. The
              Receiver intends to file an omnibus motion to approve these two settlement agreements.
              The Receiver is also in active negotiations with several other Net Winners and has

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              settled an additional sixteen claims against Net Winners since the end of the Applicable
              Period through the date of this Report. Of the sixteen settlements, fifteen of the Net
              Winners have agreed to return 100% of their net winnings. These later settlement
              agreements will be discussed in more detail in the Receiver’s next quarterly status
              report. Future reports will detail the Receiver’s efforts and recoveries in more detail.
              If settlement negotiations are unsuccessful, the Receiver will, if and as appropriate,
              seek authority from the Court to file suit against the Net Winners and other recipients
              of fraudulent transfers.

         •    Claims against Other Persons or Entities. The Receiver has started to investigate,
              analyze, and collect evidence regarding potential causes of action against other third
              parties.

         Based upon current available information, which is preliminary and subject to further due

diligence, the Receiver team estimates total recoveries from Receivership Assets could range

between $55 million and $65 million.3 Future quarterly reports will have the benefit of additional

recoveries, market data regarding assets yet to be monetized, and more due diligence leading to an

increasingly accurate estimate of total Receivership Estate recoveries.

B.       Administration and Management

         The Receiver and his team continue to manage and marshal the Receivership Assets with

the goal of maximizing the recovery to the Receivership Estate consistent with concepts outlined

in the Initial Preservation Plan (Dkt. No. 54) (the “Preservation Plan”) 4 and the Prior Reports. To

fulfill his obligations to the Court, the Receiver has undertaken the following tasks during the

Applicable Period with respect to the various forms of property in the Receivership Estate.




3
  These preliminary estimates do not include any potential clawback or fraudulent transfer claims
that are now being pursued by the Receiver and will be detailed in future reports.
4
 A copy of the Initial Preservation Plan can be found on the Receiver’s website for this SEC
Action at: https://merrill-ledford.com/wp-content/uploads/2019/05/Initial-Preservation-Plan-
11.13.18.pdf.

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         1.        Coordination and Conference with Other Parties

         Since being appointed in this case, the Receiver has coordinated extensively with the SEC,

U.S. Attorney’s Office, FBI, and U.S. Marshals Service regarding the identification and

safeguarding of Receivership Assets and the Receiver’s proposed disposition of the Receivership

Assets. As detailed in greater detail in Prior Reports, the Receiver has also facilitated discussions

with criminal counsel for Defendant Kevin B. Merrill (“Merrill”) and Defendant Jay B. Ledford

(“Ledford”), and counsel for Relief Defendant Amanda Merrill (“Amanda Merrill”) and counsel

for Relief Defendant Lalaine Ledford (“Lalaine Ledford”) (Amanda Merrill and Lalaine Ledford

are collectively, the “Relief Defendants”), to obtain their consent to the procedures and proposed

disposition of the real property, personal property, and vehicles owned or purchased by Merrill,

Ledford, and/or the Relief Defendants.

         2.        Activities in Companion Criminal Case

         As detailed in the Receiver’s third quarterly status report, all three individual Defendants

in this SEC Action entered plea agreements in the criminal action styled U.S.A. v. Merrill, et al.,

Case No. 1:18-cr-00465-RDB (the “Criminal Action”). See Dkt. No. 177. On October 11, 2019,

the Court entered a Judgment 5 against Merrill in the Criminal Action imposing imprisonment for

a term of 240 months on one count and 24 months on another count, to run consecutively, for a

total of 264 months, with credit for time served in federal custody since September 18, 2018. See

Dkt. No. 146 in the Criminal Action. On October 29, 2019, the Court entered a Judgment 6 against



5
  A copy of the Judgment against Merrill can be found on the Receiver’s website for this SEC
Action at:       https://merrill-ledford.com/wp-content/uploads/2020/01/2019-10-11-Dkt.-146-
Judgment-as-to-Merrill1457.pdf.
6
  A copy of the Judgment against Ledford can be found on the Receiver’s website for this SEC
Action    at:     https://merrill-ledford.com/wp-content/uploads/2020/01/2019-10-29-Dkt.-169-
Judgment-as-to-Ledford1458.pdf.

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Ledford in the Criminal Action imposing imprisonment for a term of 144 months on one count

and 120 months on a second count, to run concurrently, plus 24 months on a third count to run

consecutive to the first two counts, for a total of 168 months, with credit for time served in federal

custody since September 18, 2018. See Dkt. No. 169 in the Criminal Action. On January 27,

2020, the Court entered a Judgment against Amanda Merrill in the Criminal Action for conspiracy

to obstruct justice. See Dkt. No. 218 in the Criminal Action.

         3.        Real Property

                   (a)   Overview

         As described in Prior Reports, the Receivership Order granted the Receiver authority to

“take custody, control, and possession of All Receivership Assets,” including real property, and

ordered the Receiver to “manage, control, operate, and maintain the Receivership Estate and hold

in his possession, custody, and control all Receivership Assets.” Receivership Order, Dkt. No. 62

at ¶ 8. During the pendency of this case, the Receiver has undertaken the review and analysis of

various real estate holdings, including both residential and commercial properties located in

Maryland, Florida, Texas, and Nevada. The Receiver has engaged Sotheby’s International Realty,

Inc. (“Sotheby’s”) to assist with the monetization of the majority of the real properties. On April

23, 2019, the Court entered an Agreed Order on the Sotheby’s Motion (the “Merrill Agreed

Order”) with respect to certain real property owned or purchased by Merrill and/or Amanda Merrill

(the “Merrill Real Property”), which established the procedures for the sale of the Merrill Real

Property (the “Real Property Sales Procedures”). See Dkt. No. 137. 7 In addition, the Receiver

sought and obtained Court approval to retain Coldwell Banker Commercial Amarillo to market




7
  A copy of the Merrill Agreed Order can be found on the Receiver’s website for this SEC Action
at: https://merrill-ledford.com/wp-content/uploads/2019/05/2019-04-29-137-Agreed-Order.pdf.

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and, upon further order of the Court, sell the commercial real property owned by Ledford that is

located at 2801 Paramount Boulevard, Amarillo, TX 79109. See Dkt. Nos. 185 & 189.

                   (b)    Recommended Disposition of Remaining Real Property

         The Receivership Estate contains the following remaining real properties that have yet to

be monetized:

              •    1132 Glade Road, Colleyville, Texas 76034 (the “Glade Road Property”); and
              •    2308 Cedar Elm Terrace, Westlake, Texas 76262 (the “Cedar Elm Property”).

         On December 18, 2013, Frost Bank filed an Abstract of Judgment against King Fischer,

Ltd. d/b/a LP Investments, Ltd. (“King Fischer”), Ledford, and Neil A. Patel, recorded as

document number D213316737 in the Real Property Records of Tarrant County, in the amount of

$5,990,247.61 (the “Frost Judgment Lien”). The Frost Judgment Lien attached to (i) the Cedar

Elm Property, which was held in Ledford’s name, and (ii) the Glade Road Property, which was

held in King Fischer’s name. Ledford and King Fischer are both Receivership Parties in this SEC

Action. See Dkt. No. 484 at ¶1.

         On March 8, 2021, the Receiver filed the Motion to Approve Settlement Agreement and

Release to resolve a disputed lien against the Cedar Elm Property (the “Cedar Elm Settlement”),

which the Court approved on March 9, 2021. See Dkt. Nos. 403 & 410. The Cedar Elm Settlement

allowed the Receiver to market and sell the Cedar Elm Property and recover $204,477.92 ahead

of the second lienholder, Thomas Preston (“Preston”), whose lien predated the Frost Judgment

Lien and was $900,000.00. Preston would now receive up to $695,522.08 after the first lien and

a $204,477.92 payment to the Receiver are satisfied. Without the Cedar Elm Settlement, the

Receiver would not have recovered anything from the sale of the Cedar Elm Property due to the

approximate $6 million Frost Judgment that was next in line for payment after the first and second

mortgages were satisfied.


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         On June 17, 2022, the Receiver filed a Motion for Authorization of Sale of Real Property

Located at 2308 Cedar Elm Terrace, Westlake, Texas 76262 (Dkt. No. 633) (the “Cedar Elm Sale

Motion”), which proposed a sale of the Cedar Elm Property for an all-cash offer of $2,060,000.00.

Pursuant to the Cedar Elm Settlement, the Receivership Estate would receive a total of

$204,477.92 from the sale proceeds. The Court granted the Cedar Elm Sale Motion after the

Applicable Period on July 20, 2022, and the recovery of the sale proceeds will be reflected in the

Receiver’s next quarterly status report. See Dkt. No. 646. The sale of the Cedar Elm Property

closed on July 26, 2022. At closing, the first mortgage with Wells Fargo was paid in full, the

Receiver received $204,477.92, and Preston received the remaining $677,161.75 after all closing

costs and taxes were paid.

         On May 23, 2022, the Receiver filed a Motion for Declaratory Relief on Lien Priority and

Equitable Subrogation (Dkt. No. 625) (the “Glade Road Motion”) with respect to the Glade Road

Property. Specifically, the Receiver sought to subordinate all other lienholders and establish a

first-priority lien in the amount of $1,663,792.59 in favor of Receivables Portfolio Interchange,

Inc. (“Receivables Portfolio”), a Receivership Party, due to Receivables Portfolio’s involuntary

payoff of the first mortgage owed by King Fischer, another Receivership Party. See Dkt. No. 625.

The Court granted the Glade Road Motion on June 29, 2022. See Dkt. No. 635. Without the Order

granting the Glade Road Motion, it is unlikely the Receivership Estate would have recovered any

amount from the sale of the Glade Road Property because the $6 million Frost Judgment Lien

greatly exceeds the fair market value for the Glade Road Property, which is estimated to be

approximately $2 million dollars. The Receiver intends to market and seek approval for the sale

of the Glade Road Property, which will be detailed in the Receiver’s next quarterly status report.




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         4.        Other Property

         The Receiver, independently and through collaboration with the SEC, FBI, and U.S.

Attorney’s Office, has identified other personal property as described in the Prior Reports. This

category of assets includes but is not limited to art, collectibles, jewelry, watches, luggage, and

similar luxury items.          To maximize recovery to the Receivership Estate, the Receiver has

researched and identified various consignment and/or auction outlets for monetizing the different

classes of personal property at the appropriate time.

         The Receiver previously obtained an Order from the Court to retain Heritage as broker for

the Receivership Estate to sell certain categories of personal property that were being held in

storage by the Receiver or held by the U.S. Marshals or the FBI (“Heritage Order”). See Dkt. No.

272. Heritage and the Receiver had begun noticing and setting dates for auctions as the COVID-

19 pandemic began to impact the United States. Heritage provided the Receiver with sales data

from other recent sales that confirmed the pandemic had not negatively affected expected sales

prices. To ensure there were no unforeseen impacts from COVID-19, the Receiver negotiated a

reserve price for each item. The reserve prices ensure that each item receives the minimum amount

from its low-end valuation based on the market prior to COVID-19. Heritage continues to hold

numerous items that have been contested by the Relief Defendants. The Receiver has protocols in

place with Heritage to ensure none of the contested items are sold without the Relief Defendants’

consent or further Order of the Court.

          The Receiver continues to pursue additional potential Receivership Assets, including:

               •       at least one additional consumer debt portfolio;
               •       minority ownership interest in a commercial shopping center; 8
               •       a minority interest in a privately-held biosciences company;

8
  The Receivership Estate receives approximately $800.00 per month for its interest in the net
profit generated by the shopping center.

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                •      $150,000 cash deposit for the purchase of a Porsche;
                •      additional collectable comics;
                •      new furniture and furnishings not yet installed in real properties being renovated;
                •      John Deere tractor;
                •      probate estate distribution rights;
                •      a condemnation award related to one of the real properties;
                •      a minority interest in an Asian-based technology company;
                •      an oil and gas interest; and
                •      one or more cryptocurrency accounts.

         The Receiver and his counsel are also reviewing other potential Receivership Assets that

could result in additional recoveries.

         5.         Insurance

         As referenced above, as of the filing of this Report, each of the real properties owned by

the Receivership Estate is adequately insured and additional insurance needs continue to be

evaluated.

                                    III.   ESTATE ADMINISTRATION

         The Receiver has continued making payments and disbursements and incurring expenses

as may be necessary or advisable in the ordinary course of business for discharging his duties as

Receiver. The financial report filed contemporaneously with this Report delineates activity

between the operating entities and the balance of the Receivership Estate providing a clearer

picture of the separate components of the Receivership Estate.

          IV.       UNRESOLVED CLAIMS AGAINST RECEIVERSHIP PROPERTY

         As detailed in the Prior Reports, the Relief Defendants have asserted claims to certain

Receivership Assets that are separate and apart from the Claims Procedure. The Receiver has

protocols in place to ensure none of the contested Receivership Assets are sold without the Relief

Defendants’ consent or further Order of the Court.




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                       V.    ACCRUED ADMINISTRATIVE EXPENSES

         During the Applicable Period, the Receivership Estate accrued administrative expenses

comprised of professional fees for the services of the Receiver’s team and counsel, along with the

Receiver’s claims agent, Bankruptcy Management Solutions Inc. d/b/a Stretto (“Stretto”), and tax

accountant, BDO, USA, LLP (“BDO”). On April 2, 2022, the Receiver and his counsel each filed

fee applications for the period between October 1, 2021 and December 31, 2021 (Dkt. Nos. 608 &

609), which were granted by the Court on June 30, 2022. See Dkt. Nos. 641 & 642. On May 30,

2022, the Receiver filed fee applications for Stretto and BDO for the period ending December 31,

2021 (Dkt. Nos. 626 & 627), which were granted by the Court on June 30, 2022. See Dkt. Nos.

636 & 637. On June 6, 2022, the Receiver and his counsel each filed fee applications for the period

between January 1, 2022 and March 31, 2022 (Dkt. Nos. 628 & 629) (the “Fourteenth Fee

Applications”), which were granted by the Court on June 30, 2022.       See Dkt. Nos. 638 & 639.

         Through the Fourteenth Fee Applications, the Receiver’s fees total $2,521,773.75 and costs

total $86,330.17, and Husch Blackwell’s fees total $2,377,695.75 and its costs total $195,572.32.

The total fees and expenses of all Receivership Estate professionals—including commissions paid

to brokers, consignors, and auctioneers in conjunction with asset sales—through the Fourteenth

Fee Applications total $9,186,139.79, which is 10.17% of the $90,343,846.41 recovered through

June 30, 2022 and 14.89% of the $61,706,800.97 available cash on hand as of June 30, 2022.

         Below is a detailed summary of all fee applications for the Receiver and his team, including

the total fees and expenses incurred during each period and on a daily basis during each period,

along with the date each prior fee application was approved by the Court. As detailed below,

Receiver’s fees have declined by approximately 95% per day from the first fee application to the

Fourteenth Fee Application.



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Fee App. No.       Time Period Dkt. No. Fees and Expenses      Per Day       Approved On Dkt. No.
           1st    9/13/18-10/31/18   70 $       357,908.89 $        7,304.26      6/7/2019    151
          2nd     11/1/18-12/31/18  118 $       301,292.71 $        4,939.22      6/7/2019    151
          3rd       1/1/19-3/31/19  159 $       405,380.62 $        4,504.23     10/4/2019    220
          4th       4/1/19-8/31/19  238 $       447,644.74 $        2,925.78    11/20/2019    243
          5th      9/1/19-12/31/19  278 $       263,152.31 $        2,126.71     3/12/2020    284
          6th       1/1/20-3/31/20  303 $       210,272.09 $        2,310.68     6/24/2020    314
          7th       4/1/20-6/30/20  338 $       191,503.08 $        2,127.81      9/1/2020    344
          8th       7/1/20-9/30/20  374 $       129,818.38 $        1,426.58    12/17/2020    386
          9th     10/1/20-12/31/20  404 $        70,651.78 $          776.39     4/13/2021    422
         10th       1/1/21-3/31/21  451 $        57,165.12 $          642.30     7/15/2021    462
         11th       4/1/21-6/30/21  487 $        67,034.92 $          747.96    11/29/2021    507
         12th       7/1/21-9/30/21  521 $        36,357.47 $          395.19     12/6/2021    527
         13th     10/1/21-12/31/21  608 $        36,598.13 $          397.81     6/30/2022    641
         14th       1/1/22-3/31/22  628 $        33,314.68 $          370.16     6/30/2022    638
       Total                            $    2,608,094.92

         Below is a detailed summary of all fee applications for the Receiver’s counsel, Husch

Blackwell, including the total fees and expenses incurred during each period and on a daily basis

during each period, along with the date each prior fee application was approved by the Court. As

detailed below, Husch Blackwell’s fees have declined by more than 63% per day from the first fee

application to the Fourteenth Fee Application.

Fee App. No.       Time Period Dkt. No. Fees and Expenses      Per Day       Approved On Dkt. No.
           1st    9/13/18-10/31/18   71 $       184,169.83 $        3,758.57      6/7/2019    151
          2nd     11/1/18-12/31/18  119 $       254,017.68 $        3,885.64      6/7/2019    151
          3rd       1/1/19-3/31/19  160 $       288,614.74 $        3,186.03     10/4/2019    220
          4th       4/1/19-8/31/19  239 $       402,932.50 $        2,546.01    11/20/2019    244
          5th      9/1/19-12/31/19  279 $       188,368.17 $        1,527.03     3/12/2020    285
          6th       1/1/20-3/31/20  304 $       185,469.07 $        2,025.45     6/24/2020    315
          7th       4/1/20-6/30/20  339 $       214,021.84 $        2,180.59      9/1/2020    345
          8th       7/1/20-9/30/20  375 $       183,019.35 $        1,759.84    12/17/2020    387
          9th     10/1/20-12/31/20  405 $        99,102.02 $          872.60     4/13/2021    423
         10th       1/1/21-3/31/21  452 $       127,379.22 $        1,431.23     7/15/2021    463
         11th       4/1/21-6/30/21  488 $       132,386.81 $        1,270.17    11/29/2021    508
         12th       7/1/21-9/30/21  522 $        97,222.25 $        1,056.76     12/6/2021    528
         13th     10/1/21-12/31/21  609 $        92,492.70 $        1,005.36     6/30/2022    642
         14th       1/1/22-3/31/22  629 $       123,891.89 $        1,376.58     6/30/2022    639
       Total                            $    2,573,088.07

         At the end of the Applicable Period, the Receiver and his team had incurred approximately

$26,000.00 in unpaid fees and expenses for the three-month period ending June 30, 2022, while

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the Receiver’s counsel has incurred approximately $167,000.00 in unpaid fees and expenses for

the same three-month period.

         As of June 30, 2022, the Receivership Estate had approximately $61.7 million of cash on

hand in Receivership Estate bank accounts under the sole control of the Receiver, and the Receiver

team estimates total recoveries from Receivership Assets could range between $55 million and

$65 million. 9

         The Receiver anticipates the Receivership Estate will continue to accrue additional

administrative expenses going forward with the actual amounts fluctuating commensurate with the

activities required to properly administer the Receivership Estate.

                                     VI.    TAX MATTERS

         As indicated in Prior Reports, the Receiver sought and obtained approval to retain BDO as

tax accountant for the Receivership Estate to: (i) advise the Receiver on the tax liability of the

Receivership Estate and the non-individual Receivership Parties; (ii) prepare and file state and

federal tax returns on behalf of the Receivership Estate and the non-individual Receivership

Parties; (iii) advise the Receiver on obtaining and maintaining the status of a taxable “Settlement

Fund” within the meaning of Section 468B of the Internal Revenue Code for Receivership Funds;

and (iv) advise the Receiver on other tax matters related to the administration of the Receivership

Estate. See Dkt. Nos. 198 & 201. During prior periods, the Receiver worked with BDO to prepare

and file 2018, 2019, and 2020 federal and state tax returns for the Receivership Estate, as well as

all required 2018, 2019, and 2020 state tax returns. During the Applicable Period, the Receiver




9
  These preliminary estimates do not include any potential clawback or fraudulent transfer claims
that have not yet been authorized by the Court or investigated by the Receiver.

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worked with BDO to prepare all required 2021 tax returns for filing on or before each applicable

deadline.

                       VII.   RECEIVER’S ONGOING INVESTIGATION

         The Receiver continues his investigation with the assistance of his counsel, Husch

Blackwell. The Receiver will file supplemental reports to the Court for the duration of the

Receivership, as required by the Receivership Order.

            VIII. CLAIMS DETERMINATION AND DISTRIBUTION PROCESS

         The Receiver previously obtained authority to identify claimant/creditors and to propose a

plan of distribution. 10 See Dkt. No. 222. With this authority in the SEC Action, the Receiver then

conferred with the U.S. Attorney’s Office to obtain disclosure and release of information to the

Receiver and the SEC, which was originally gathered by the U.S. Attorney’s Office and FBI

regarding both individual investors and pooled fund investors. Orders authorizing such disclosure

were entered in the Criminal Action at the end of November 2019. The Receiver and his counsel

have attended meetings with the U.S. Attorney’s Office, FBI, and SEC to discuss the information

developed by those agencies to date that will help facilitate the claims process in the SEC Action

without duplicating prior efforts of those agencies.

         As noted in the sixth quarterly status report, the Receiver performed a random sampling of

investors and their investment activity with the Receivership Parties to confirm the accuracy of the

claims analysis prepared by the U.S. Attorney’s Office and FBI. See Dkt. No. 291. The random

sampling was also undertaken to confirm the Receiver is in possession of the necessary bank

statements, transactional documents, and other supporting documents to evaluate the accuracy of


10
  A copy of the Order Granting Motion to Authorize the Receiver to Identify Claimants and
Creditors and Propose a Plan to Distribution can be found on the Receiver’s website for this SEC
Action at: https://merrill-ledford.com/wp-content/uploads/2019/11/2019-10-04-222-Order.pdf.

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the expected claims in this case. After completion of the random sampling, the Receiver has

confirmed the accuracy of the U.S. Attorney’s Office and FBI’s claims analysis, which served as

the starting point for the Claims Procedure discussed below.

         On February 9, 2021, the Receiver filed the Motion for Order Setting Claims Bar Date,

Establishing Claims Procedure, and Approving Notification Process (the “Claims Procedure”).

See Dkt. No. 395. On February 10, 2021, the Court entered the Order approving the Claims

Procedure and set a claims bar date of May 20, 2021 (the “Claims Bar Date”). See Dkt. No. 396.

Pursuant to the Claims Procedure, the Receiver and his counsel worked extensively with Stretto

during the Applicable Period to respond to questions about the Claims Procedure, review all claims

and supporting documents, communicate with claimants, and request additional documents and

information from claimants. Stretto received a total of 274 claims submitted pursuant to the Claims

Procedure. The Receiver sent responses to 83 claimants requesting (i) additional supporting

documents or information, or (ii) that the claimant voluntarily withdraw their claim for various

reasons.      Following resolution of this process, there are 238 undisputed and allowed claims

totaling $166,022,249.69, and there are 36 disputed claims that are the subject of the Receiver’s

Omnibus Objection to Claims (Dkt. No. 503) (the “Claims Objections”). See Dkt. No. 503. The

disputed claims include 8 Known Investor claims for a total amount of $8,672,556.83 and 28 Other

Creditor claims for a total amount of $2,811,799.26.

         On November 17, 2021, the Receiver filed the Distribution Plan and proposed an interim

distribution of $50 million to claimants. The Receiver proposed the rising tide methodology for

the Distribution Plan, which would raise the most injured investors from 100% losses to a 48.86%

recovery. Additional interim and/or final distributions will increase the percentage recovery for

those claimants most injured by the Defendants’ Ponzi scheme. Four parties-in-interest filed



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objections to the Distribution Plan. See Dkt. Nos. 512, 558, 559, and 565. The Receiver filed

replies in support of the proposed Distribution Plan to address the objections raised by certain

claimants, and one claimant filed a surreply after obtaining leave of Court. See Dkt. Nos. 580,

584, 591, and 594. The Distribution Plan and Claims Objections are pending with the Court. The

Receiver anticipates an interim distribution to claimants upon the Court’s resolution of the

objections to the Distribution Plan and entry of an order authorizing an interim distribution.

         The Receiver has received numerous contacts from potential investor victims requesting

information. The Receiver has provided general status updates and directed such parties to

pleadings filed of record in the case that are available on the Receiver’s website, including the

Receiver’s Preservation Plan, Prior Reports, the Claims Procedure, the Claims Objections, and the

Distribution Plan. 11

                                     IX.     CONCLUSION

         Accordingly, the Receiver, Gregory S. Milligan, respectfully submits this Fifteenth

Quarterly Status Report for the Court’s consideration and, for the reasons stated in this Report,

recommends the continuation of this Receivership Estate.

                                              Respectfully submitted,

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                                              Jameson J. Watts, pro hac vice
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  The Receiver’s website for this SEC Action contains a separate section to provide information
regarding the claims and distribution process at: https://merrill-ledford.com/claims-process/.

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                                  CERTIFICATE OF SERVICE

        On July 29, 2022, I electronically submitted the foregoing document with the clerk of the
court of the U.S. District Court for the District of Maryland, using the electronic case filing system
of the court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically through the Court’s CM/ECF filing system for all parties who have registered to
receive electronic service. Additionally, the foregoing document was served on the following
parties not registered for Court’s CM/ECF filing system as indicated below:

         Defendant Kevin B. Merrill (via U.S. Mail):

         Kevin B. Merrill, #64274-037
         FCI Allenwood Low
         Federal Correctional Institution
         P.O. Box 1000
         White Deer, PA 17887

         Defendant Jay B. Ledford (via U.S. Mail):

         Jay B. Ledford, #55055-048
         FCI Safford
         Federal Correctional Institution
         P.O. Box 9000
         Safford, AZ 85548

         Criminal Counsel for Defendant Kevin B. Merrill (via E-Mail and U.S. Mail):

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         Criminal Counsel for Defendant Jay B. Ledford (via E-Mail and U.S. Mail):

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         Trainor Billman Bennett and Milko LLP
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         Annapolis, MD 21401
         htrain@prodigy.net


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         Duane Morris LLP
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         Washington, DC 20004
         jjaronica@duanemorris.com

         Criminal Counsel for Relief Defendant Amanda Merrill (via E-Mail and U.S. Mail):

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         Ian Herbert
         Miller & Chevalier Chartered
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         Washington, DC 20006
         aschmitt@milchev.com
         iherbert@milchev.com

         Baltimore County Office of Law (via E-Mail and U.S. Mail):

         Susan B. Dubin
         Baltimore County Office of Law
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         Towson, Maryland 21204
         sdubin@baltimorecountymd.gov

         Dundalk United Methodist Church (U.S. Mail):

         Dundalk United Methodist Church
         c/o Edward F. Mathus
         6903 Mornington Road
         Baltimore, Maryland 21222

         Lienholders, Tax Assessors, and Other Interested Parties (U.S. Mail):

         Florida Community Bank, N.A.
         2325 Vanderbilt Beach Road
         Naples, Florida 34109

         Mortgage Electronic Registration Systems, Inc.
         PO Box 2026
         Flint, Michigan 48501-2026

         Collier County, Florida Tax Assessor
         3291 Tamiami Trail East
         Naples, Florida 34112


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         Maryland Department of Assessments & Taxation
         301 W. Preston Street
         Baltimore, Maryland 21201-2395

         Branch Banking and Trust Company,
         A North Carolina Banking Corporation
         PO Box 1290
         Whiteville, North Carolina 28472

         Talbot County, Maryland Finance Office
         Talbot County Courthouse
         11 North Washington Street, Suite 9
         Easton, Maryland 21601

         HSBC Bank USA, National Association, as trustee of
         J.P. Morgan Alternative Loan Trust 2006-A5
         c/o Howard n. Bierman, Trustee
         c/o Select Portfolio Servicing, Inc.
         3815 Southwest Temple
         Salt Lake City, Utah 84115

         Clark County, Nevada Tax Assessor
         500 S. Grand Central Parkway
         Las Vegas, Nevada 89155

         First Financial Bank, N.A. Southlake
         3205 E. Hwy. 114
         PO Box 92840
         Southlake, Texas 76092

         Hunter Kelsey of Texas, LLC
         4131 Spicewood Springs Road, Bldg. J-1A
         Austin, Texas 78759

         Frost Bank, f/k/a The Frost National Bank
         c/o Michael J. Quilling
         Quilling, Selander Lownds, Winslett & Moser, P.C.
         2001 Bryan Street, Suite 1800
         Dallas, Texas 75201

         The City of Colleyville, Texas
         c/o Victoria W. Thomas
         Nichols, Jackson, Dilard, Hager & Smith, L.L.P.
         1800 Lincoln Plaza
         500 North Akard
         Dallas, Texas 75201


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         Tarrant County, Texas Tax Assessor
         100 E. Weatherford
         Fort Worth, Texas 76196

         Dallas Central Appraisal District
         2949 N. Stemmons Freeway
         Dallas, Texas 75247-6195

         Bozeman West
         PO Box 1970
         15632 West Main Street
         Bozeman, Montana 59771-1970

         Neil A. Patel
         5308 Burgandy Court
         Colleyville, Texas 76034

         TIB – The Independent BankersBank
         350 Phelps Court, Suite 200
         PO Box 560528i
         Dallas, Texas 75356-0528

         Wachovia Mortgage, FSB
         PO Box 659548
         San Antonio, Texas 78265-9548

         Denton County Tax Assessor
         1505 E. McKinney Street
         Denton, Texas 76209-4525

         Potter County, Texas Tax Assessor
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         Amarillo, Texas 79101

         Wells Fargo Home Mortgage
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         Des Moines, IA 50306

         Albertelli Law
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         Irving, TX 75063




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         Tampa, FL 33607



                                            /s/ Lynn H. Butler
                                            Lynn H. Butler




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